                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   at CHATTANOOGA

UNITED STATES OF AMERICA                      )
                                              )
v.                                            )       Case No. 1:09-CR-81
                                              )
DEBORAH LEWIS                                 )       MATTICE/CARTER

                                            ORDER

       On August 31, 2009, Magistrate Judge William B. Mitchell Carter filed a Report and

Recommendation recommending (a) the Court accept Defendant Deborah Lewis’ (“Defendant”)

plea of guilty Count One of the Indictment, the lesser included offense of conspiracy to

manufacture, distribute, and possess with the intent to distribute fifty (50) grams or more of a

mixture or substance containing a detectable amount of methamphetamine, a Schedule II

controlled substance, in violation of 21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(B); (b) the Court

adjudicate Defendant guilty of the charges set forth in Count One of the Indictment, the lesser

included offense of conspiracy to manufacture, distribute, and possess with the intent to

distribute fifty (50) grams or more of a mixture or substance containing a detectable amount of

methamphetamine, a Schedule II controlled substance, in violation of 21 U.S.C. §§ 846,

841(a)(1) and (b)(1)(B); and (c) Defendant shall be taken into custody pending sentencing in this

matter (Doc. 73). Neither party filed an objection within the given ten days. After reviewing the

record, the Court agrees with the magistrate judge’s report and recommendation. Accordingly,

the Court ACCEPTS and ADOPTS the magistrate judge’s report and recommendation (Doc.

73) pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

       (1) Defendant’s plea of guilty to Count One of the Indictment, the lesser included offense

of conspiracy to manufacture, distribute, and possess with the intent to distribute fifty (50) grams



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or more of a mixture or substance containing a detectable amount of methamphetamine, a

Schedule II controlled substance, in violation of 21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(B) is

ACCEPTED;

       (2) Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of the

Indictment, the lesser included offense of conspiracy to manufacture, distribute, and possess with

the intent to distribute fifty (50) grams or more of a mixture or substance containing a detectable

amount of methamphetamine, a Schedule II controlled substance, in violation of 21 U.S.C. §§

846, 841(a)(1) and (b)(1)(B); and

       (3) Defendant SHALL BE TAKEN INTO CUSTODY pending sentencing on Monday,

November 30, 2009, at 9:00 am.

       SO ORDERED.

       ENTER:


                                                           /s/Harry S. Mattice, Jr.
                                                           HARRY S. MATTICE, JR.
                                                      UNITED STATES DISTRICT JUDGE




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